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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


    IN  RE:  FTX  CRYPTOCURRENCY No: 1:23-md-03076-KMM
    EXCHANGE COLLAPSE LITIGATION
                                 MDL No. 3076


    This Document Relates To:

    Garrison v. Bankman-Fried,
    No. 22-cv-23753-KMM

    Garrison v. Ohtani,
    No. 23-cv-23064-KMM

    Garrison v. Golden State Warriors, LLC,
    No. 1:23-cv-23084-KMM

    Norris v. Brady,
    No. 23-cv-20439-KMM



      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM BY DEFENDANTS
     THOMAS BRADY, GISELE BÜNDCHEN, STEPHEN CURRY, LAWRENCE GENE
    DAVID, GOLDEN STATE WARRIORS, LLC, UDONIS HASLEM, SHOHEI OHTANI,
      KEVIN O’LEARY, SHAQUILLE O’NEAL, DAVID ORTIZ, NAOMI OSAKA, AND
    SOLOMID CORPORATION AND INCORPORATED MEMORANDUM OF LAW AND
                          REQUEST FOR HEARING




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    I.     INTRODUCTION

           Movants are current or former professional athletes, a professional basketball team, a

    supermodel, a television personality, an e-sports organization, and a comedian, all of whom

    allegedly participated in or displayed advertisements promoting FTX. The “corrected”

    administrative complaint (the “CAC,” ECF No. 179) is the thirteenth complaint that Plaintiffs have

    filed regarding these issues. But even after multiple attempts to assemble a viable case, and even

    with the benefit of a former high-level FTX executive’s declaration, dozens of additional pages of

    appended evidence, and a wealth of available materials from the FTX bankruptcy proceeding,

    Plaintiffs’ massive pleading is fundamentally and irredeemably flawed.

           Despite more than 850 paragraphs of allegations totaling 312 pages, Plaintiffs still fail to

    plausibly allege causation—or, indeed, the elements of any of their claims. Plaintiffs do not allege

    any Movant ever mentioned either of FTX’s alleged unregistered securities, YBAs or FTT. They

    do not allege any facts establishing that Plaintiffs ever purchased YBAs or FTT, and they certainly

    do not allege Plaintiffs made such purchases as a result of viewing an advertisement involving a

    Movant. In fact, Plaintiffs fail even to allege they ever viewed any advertisements involving a

    Movant at all. Further, Plaintiffs do not allege a single fact supporting their contention that any

    Movant knew of, or participated in, what Plaintiffs expressly and repeatedly allege was the secret

    FTX scheme orchestrated by a small handful of FTX insiders to misappropriate assets invested

    through the FTX platform. Even so, Plaintiffs attempt to blame Movants for FTX’s implosion.

           In short, Plaintiffs’ claims fail because the complaint constitutes an impermissible shotgun

    pleading lumping Movants and the YouTuber Defendants (and at times, all MDL Defendants)

    together and failing to give each Defendant notice of the basis of each Plaintiff’s claim against

    them; fails to adequately plead causation; and fails to plausibly allege Movants’ knowledge of—

    much less actual involvement in—FTX’s fraud. More granularly, Plaintiffs do not plead facts

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    supporting the elements of any of their claims. Alternatively, under Rule 19, this suit cannot

    proceed without FTX, the central actor in Plaintiffs’ story and the entity in possession of most of

    the evidence.

              The Court should dismiss all claims against Movants with prejudice.1

    II.       FACTUAL BACKGROUND

              As Plaintiffs tell it, “[t]he FTX Group” (collectively, “FTX”2) “was founded in 2019 . . .

    as an exchange or marketplace for the trading of crypto assets.” CAC ¶ 97. That same year, FTX

    “began offering” interest-bearing accounts, called “YBAs,” “through its Earn program,” id. ¶ 247,

    which allowed users to “opt[] in and participat[e] in staking . . . supported assets in [the user’s]

    FTX account,” and become “eligible to earn” pre-set rates of return on assets held in the account,

    id. ¶ 249. FTX also minted its own cryptocurrency, the FTX Token (“FTT”), which Plaintiffs

    describe as “an exchange token created by FTX that entitles holders to benefits on the FTX

    exchange.” Id. ¶ 260. Plaintiffs claim that YBAs and FTT are securities. Id. ¶ 233.3

              Three years later, in November 2022, FTX suddenly collapsed as customers withdrew an

    estimated “$5 billion” from the exchange and, immediately thereafter, FTX entered bankruptcy.


    1
        Plaintiffs seek to incorporate by reference all of the other MDL complaints. CAC at 3 n.1. Those

    complaints were not filed in any of the above-captioned cases, and incorporation by reference

    would be inappropriate—and make what is already an impermissible shotgun pleading

    exponentially more improper.
    2
        Like Plaintiffs, Movants use “FTX” to include any entity in the FTX Group with which Plaintiffs

    may have interacted.
    3
        For this and all of Movants’ motions to dismiss, internal citations and quotation marks are omitted

    and emphasis added throughout.


                                                        2
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    Id. ¶¶ 175-76, 178; see In re FTX Trading Ltd., No. 22-11068 (Bankr. D. Del.). FTX’s collapse

    happened, according to Plaintiffs, because FTX’s most senior leadership committed a secret

    fraud—by misappropriating customer funds for personal use and to prop up other companies;

    outright lying to government officials, regulators, auditors, and investors; failing to adhere to

    compliance obligations; and otherwise severely mismanaging the company. Id. ¶¶ 82, 92-93, 157-

    59, 162-63, 173-77. Plaintiffs further allege that the fraudulent acts of FTX’s senior leaders were

    kept wholly secret, even from FTX’s other officers and directors. See id. ¶¶ 145-91. Several of

    FTX’s former executives have since pleaded guilty to criminal fraud, and the former CEO, Sam

    Bankman-Fried, is awaiting trial on federal fraud charges. 4

             Plaintiffs further allege that, prior to its collapse, FTX made substantial efforts to pass itself

    off as a legitimate business despite actually being a massive fraud. These efforts included creating

    and distributing “materially misleading financial statements,” id. ¶ 159, paying “millions of dollars

    in hush money” to silence potential whistleblowers, id. ¶ 164, misleading members of Congress

    about FTX’s risk management procedures, id. ¶¶ 82, 92, providing false statements about customer

    asset protection on the FTX website, id. ¶¶ 88-89, and making political contributions, id. ¶¶ 3, 148,


    4
        The fraudulent acts of FTX’s leaders are the subject of ongoing investigation in criminal and

    bankruptcy matters. See, e.g., Gov’t’s Appl. to Intervene & Mot. Stay & Mem. in Supp., ECF No.

    247; David Yaffe-Bellany & Matthew Goldstein, Third Top FTX Executive Pleads Guilty in Fraud

    Investigation, N.Y. TIMES (Feb. 28, 2023), https://www.nytimes.com/2023/02/28/technology/ftx-

    guilty-plea-fraud.html; United States v. Bankman-Fried, No. 22-cr-673-LAK (S.D.N.Y.); Pete

    Brush, Ex-FTX CEO Cops Plea, But Not Cooperating Against SBF, LAW360 (Sept. 7, 2023, 11:03

    AM),           https://www.law360.com/articles/1719004/ex-ftx-ceo-cops-plea-but-not-cooperating-

    against-sbf.


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    170, 190(i). They also included, according to Plaintiffs, engaging in a “mass branding” and

    advertising campaign, see id. ¶¶ 726, 728-29, which began with FTX’s sponsorship of the Miami

    Heat basketball team and arena following review by “diligence teams” from the Heat and the NBA

    (neither the NBA, the Heat, nor the arena owners are named as defendants in this MDL), see id.

    ¶¶ 20-21, 84, 170, 426, 737, Ex. B at 5.

           As part of FTX’s advertising efforts, certain FTX entities allegedly paid certain Movants

    to appear in commercials, display the FTX logo, appear at events, or lend their images for FTX’s

    limited use. See id. ¶¶ 287-703. The alleged promotions ranged in content from a satirical Super

    Bowl commercial, in which Movant Larry David warns users not to “get into” crypto with FTX,

    see id. ¶¶ 630-31, to simple signage featuring the FTX logo at the arena of Movant Golden State

    Warriors (“GSW”), see id. ¶¶ 468, 630-31. Some Movants are alleged to have promoted the FTX

    brand generically on social media; FTX allegedly agreed with others to sponsor unrelated events

    like music festivals or charitable efforts; and others are alleged to have worn apparel bearing an

    FTX logo (among other logos) in athletic competitions or sold FTX-branded merchandise and

    NFTs. See id. ¶¶ 293-320, 339-55, 372-85, 402-09, 431-57, 477-83, 506-31, 583-92, 602-03, 607-

    14, 630-31, 636-42, 679-88.

            Plaintiffs’ allegations regarding each individual Movant’s promotions span more than 400

    paragraphs and nearly 200 pages of their pleading. See id. ¶¶ 287-703. Despite this volume,

    Plaintiffs’ allegations are most notable for what they do not include.

           First, in the nearly 200 pages of allegations devoted to Movants’ alleged conduct, no

    Movant is alleged to have mentioned the purported “unregistered securities,” YBAs or FTT, at




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    all.5 Further, Plaintiffs fail to allege a single statement by any Movant that caused any Plaintiff to

    purchase or invest in any specific product, including YBAs or FTT. See id. ¶¶ 39-54. In fact, no

    Plaintiff even claims to have seen a specific commercial or tweet by any Movant, much less alleges

    that he or she did business with FTX or purchased any FTX product as a result. See id.6 Plaintiffs

    do not even allege when they engaged with FTX. A Movant thus may be named in this case even

    though Plaintiffs deposited funds with FTX years before that Movant became involved in any

    advertising.

              Second, conclusory allegations that Movants “must” have somehow discerned FTX’s

    secret fraud merely because they had access to financial advisors and/or investment experience are

    refuted by both Plaintiffs’ substantive allegations and common sense. Plaintiffs do not allege a

    single fact suggesting that any Movant had actual or constructive knowledge of FTX’s fraud. See

    id. ¶¶ 331, 364, 396, 418, 462, 487-89, 537-40, 599, 622, 649-50, 696-98. Similarly, Plaintiffs fail

    to allege any specific facts demonstrating that any Movant participated in FTX’s fraud. Rather,

    Plaintiffs make only blanket allegations that “[e]ach” of an undifferentiated “group of Defendants”

    “contributed both to the perpetration of [FTX’s] fraud, and to the sale of unregistered securities,

    in a vital way,” id. ¶ 287, and that the actions of “the MDL Defendants” “contributed to the collapse


    5
        For twelve of the thirteen Movants, Plaintiffs do not allege any references to FTT or YBAs. The

    only allegation that concerns either is inapposite: Solomid Corporation is alleged to have

    purchased FTT from FTX and then distributed that FTT to its employees and players. CAC ¶¶ 667,

    678.
    6
        The closest Plaintiffs get is asserting that “many customers relied on the testimonials of paid

    celebrity endorsers” in deciding “to use FTX,” CAC ¶ 279, but they never allege their own reliance

    with respect any Movant’s alleged advertisements.


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    of the FTX Group,” id. at 3. But Plaintiffs repeatedly—and specifically—allege the opposite: that

    the “massive [] fraud,” id., was orchestrated by FTX insiders who hid their activities from everyone

    else. See, e.g., id. ¶¶ 147-64.

             Plaintiffs also wholly fail to allege any specific deceptive act by any Movant or identify a

    single fraudulent statement made by any Movant. Rather, Plaintiffs assert that because FTX used

    its agreements with Movants to further the FTX brand, which FTX then capitalized on as part of

    its independent secret fraud, each and every Movant was somehow transformed into a co-

    conspirator. Id. ¶ 11. Plaintiffs do generically allege that each Movants’ promotions were

    “deceptive,” but merely because Movants made positive statements about the FTX brand and “did

    not disclose that they were being compensated by FTX.” Id. ¶¶ 329-30, 361-62, 393-95, 414-16,

    460-61, 486, 533-36, 597-98, 618-19, 648, 695. However, Plaintiffs do not plead any relationship

    between, on the one hand, any Movant’s failure to disclose compensation for routine advertising

    and sponsorships—which are, of course, widely understood to be paid, a fact which Plaintiffs

    themselves recognize was often expressly and publicly acknowledged7—and, on the other,



    7
        E.g., CAC ¶ 297 (“Bankman-Fried touted that Bündchen and Brady took an equity stake in the

    company as a means of promotion, including on nationally distributed podcasts.”); id. ¶ 339 (FTX

    announced that “Mr. O’Leary will be taking an equity stake in [FTX], along with being paid in

    crypto to serve as an ambassador and spokesperson for FTX”); id. ¶ 434 (citing FTX, NBA

    Superstar Stephen Curry Becomes Global Ambassador and Shareholder of Leading

    Cryptocurrency Exchange FTX Through Long-Term Partnership, PRNEWSWIRE (Sept. 7, 2021),

    https://www.prnewswire.com/news-releases/nba-superstar-stephen-curry-becomes-global-

    ambassador-and-shareholder-of-leading-cryptocurrency-exchange-ftx-through-long-term-



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    Plaintiffs’ claimed losses (which were caused by FTX’s leaders’ secret fraud).

           To date, FTX has recovered over $7 billion of the $8.7 billion allegedly owed to its

    customers. See Notice, In re: FTX Trading LTD., et al., No. 22-11068, ECF No. 1704, Ex. A at 32


    partnership-301370497.html (“Curry will receive an equity stake in FTX Trading Limited[.]”));

    id. ¶ 436 (similar); id. ¶ 476 (citing Jabari Young, Cryptocurrency Platform FTX Will Pay Golden

    State Warriors $10 Million for Global Rights, CNBC (Dec. 14, 2021, 5:30 AM), https://

    www.cnbc.com/2021/12/14/ftx-to-pay-golden-state-warriors-10-million-for-global-rights.html);

    id. ¶ 579 (citing FTX, MLB Superstar Shohei Ohtani Joins FTX as Global Ambassador Through

    Long-Term Partnership, PRNEWSWIRE (Nov. 16, 2021), https://www.prnewswire.com/news-

    releases/mlb-superstar-shohei-ohtani-joins-ftx-as-global-ambassador-through-long-term-

    partnership-301425911.html (“Mr. Ohtani will receive all of his compensation in equity and

    cryptocurrencies[.]”)); id. ¶ 611 (citing Alex Weprin, Naomi Osaka Jumps Into Crypto Craze as

    Firms Target Young Women, HOLLYWOOD REPORTER (Mar. 21, 2022, 7:00 AM),

    https://www.hollywoodreporter.com/business/digital/naomi-osaka-crypto-ftx-1235115487/)

    (“Osaka will receive an equity stake in FTX as part of the long-term deal and will also be receiving

    some additional compensation in crypto.”)); id. ¶ 602 (citing Connor Sephton, Naomi Osaka:

    Tennis Star Teams Up with FTX—and She’s Getting Paid in Crypto, Too, COINMARKETCAP

    (accessed Sept. 19, 2023), https://coinmarketcap.com/alexandria/article/naomi-osaka-tennis-star-

    teams-up-with-ftx-and-she-s-getting-paid-in-crypto-too); cf. CAC ¶ 645 (“[H]iring David almost

    doubled the already hefty $13 million price tag of a prime-time Super Bowl commercial.”) (citing

    Frank Chaparro, Why Larry David Was the Perfect ‘Anti-Sponsor’ of FTX’s Super Bowl Ad, THE

    BLOCK (Feb. 15, 2022, 5:22 PM), https://www.theblock.co/post/134339/why-larry-david-was-the-

    perfect-anti-sponsor-of-ftxs-super-bowl-ad-according-to-jeff-schaffer).


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    (June 26, 2023). The trustee has further indicated that it anticipates “additional recoveries,” adding

    that the “vast majority of the [original customer] deficit . . . was in the form of fiat currency and

    stablecoin that had been misappropriated.” Id.8

    III.     PLAINTIFFS’ CLAIMS

             Attempting to bypass the bankruptcy process, Plaintiffs filed the above-captioned lawsuits,

    seeking to represent international and national classes of customers who “purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform, purchased or enrolled in a YBA, or purchased FTT.” CAC ¶ 752. The complaint

    contains 14 counts—one under federal law, five under Florida law, five alternative counts under

    California law, and three alternative counts under Oklahoma law. Counts 1, 8, and 13 allege that

    FTX itself (i.e., the mobile application and web-based trading service), YBAs, and/or FTT were

    unregistered securities, which FTX sold to Plaintiffs with “material assistance” from Movants.9 Id.

    ¶¶ 768-75, 816-23, 850-53. Counts 2, 7, and 12 allege that Movants engaged in “unfair and

    deceptive practices” in violation of the Florida Deceptive and Unfair Trade Practices Act

    (“FDUTPA”), the California Unfair Competition Law (“UCL”), and the Oklahoma Consumer

    Protection Act (“OCPA”). Id. ¶¶ 776-85, 811-15, 842-49. Counts 3 and 11 allege that Movants


    8
        A group of FTX investors has filed a separate class action lawsuit—which presumably

    encompasses Plaintiffs—in the FTX bankruptcy proceeding, seeking rescission of the customer

    assets frozen during the bankruptcy process. See Adversary Compl. (“Bankr. Compl.”), In re FTX

    Trading Ltd., No. 22-11068 (Bankr. D. Del. Dec. 27, 2022), ECF No. 321. That proceeding

    remains ongoing.
    9
        Plaintiffs cite the Oklahoma Uniform Securities Act of 1980, but the operative statute is the

    Oklahoma Uniform Securities Act of 2004 (“Oklahoma Securities Act”).


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    conspired with the “FTX Entities” to induce Plaintiffs to purchase interests in FTX, YBAs, and/or

    FTT. Id. ¶¶ 786-91, 836-41. Counts 4, 9, and 14 allege that Movants “aided and abetted” FTX’s

    fraud. Id. ¶¶ 792-97, 824-29, 854-59. Counts 5 and 10 allege that Movants “aided and abetted”

    FTX’s alleged conversion of Plaintiffs’ “funds.” Id. ¶¶ 798-803, 830-35. And Count 6 seeks a

    declaratory judgment. Id. ¶¶ 804-10.

    IV.    LEGAL STANDARD

           In addition to the general obligations of Rule 8, Rule 9(b) governs the sufficiency of

    Plaintiffs’ allegations because Plaintiffs’ claims sound in fraud. Plaintiffs generically contend that

    Movants assisted in FTX’s fraud by participating in FTX’s commercials and advertising

    campaigns. See, e.g., CAC ¶¶ 6, 272-88, 521, 759. Plaintiffs’ claims all flow from this same

    allegedly fraudulent activity. See id. ¶¶ 768-859. As such, Plaintiffs’ claims are all subject to Rule

    9(b)’s heightened pleading requirements. See Wagner v. First Horizon Pharm. Corp., 464 F.3d

    1273, 1277 (11th Cir. 2006) (applying Rule 9(b) to securities claim sounding in fraud); Morchem

    Indus., Inc. v. Rockin Essentials LLC, 2021 WL 5014105, at *4 (S.D. Fla. June 16, 2021) (applying

    Rule 9(b) to FDUTPA claim); Banc of Am. Secs. LLC v. Stott, 2005 WL 8156027, at *5-6 (S.D.

    Fla. Aug. 30, 2005) (aiding and abetting fraud, conspiracy subject to Rule 9(b)); Feng v. Walsh,

    2020 WL 5822420, at *15 (S.D. Fla. Sept. 14, 2020) (aiding and abetting conversion subject to

    Rule 9(b)).

           Rule 9(b) requires plaintiffs to “state with particularity the circumstances constituting

    fraud.” Fed. R. Civ. P. 9(b). Thus, Plaintiffs must identify the precise statements made; the time

    and place of, and the persons responsible for, the alleged statements; the content and manner in

    which the statements misled the Plaintiffs; and what defendants gained. See W. Coast Roofing &

    Waterproofing, Inc. v. Johns Manville, Inc., 287 F. App’x 81, 86 (11th Cir. 2008). “[C]onclusory



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    allegations that certain statements were fraudulent” do not suffice. Id.

            Rule 8 requires Plaintiffs to plead a claim that is plausible on its face, based on well-pleaded

    facts sufficient to raise a right to relief above the speculative level. Bell Atl. Corp. v. Twombly, 550

    U.S. 544, 555 (2007). Legal conclusions unsupported by well-pleaded facts cannot survive.

    Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009).

            For the reasons that follow, Plaintiffs’ claims fail under both standards.

    V.      ARGUMENT

            A.      Plaintiffs’ Shotgun Pleading Is Fatally Flawed

            Plaintiffs’ complaint fails because it is an impermissible shotgun pleading, it is directed at

    people who did not cause Plaintiffs’ alleged losses, and Plaintiffs have not plausibly pled that

    Movants had knowledge of the fraud occurring behind FTX’s closed doors—indeed, Plaintiffs’

    specific allegations regarding that fraud make their claims implausible. These issues resolve the

    claims against Movants in full, and warrant dismissal with prejudice.

            Shotgun Pleading: For decades, the Eleventh Circuit has rejected “shotgun” pleadings.

    See Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1321-23 (11th Cir. 2015). Shotgun

    pleadings should be dismissed because they “fail to one degree or another . . . to give the defendants

    adequate notice of the claims against them.” Id. at 1323.

            Rather than specifically explain how each Movant’s alleged actions caused harm to

    Plaintiffs (or even describe which Plaintiffs, if any, saw any Movant’s specific advertising efforts),

    Plaintiffs vaguely reference “the MDL Defendants’ wrongdoing.” CAC ¶¶ 39-54. Yet, the “MDL

    Defendants” are a widely-varying group that encompasses FTX insiders—including individuals

    who have pleaded guilty to criminal fraud—accounting firms, financial institutions, venture capital

    funds, influencers, and Movants. See id. at 1-2. As a result, the complaint “fails to distinguish



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    precisely what each defendant is alleged to have done sufficiently enough to give Defendants fair

    notice.” Genesis NYC Enters., Inc v. JAI Grp., SA, 2016 WL 1588397, at *3 (S.D. Fla. Apr. 20,

    2016). “[I]n evaluating the sufficiency of each count, [Movants] and this Court are forced to sift

    through the facts presented to determine which allegations are relevant to a particular claim” or

    person. Harris v. Pub. Health Tr., 2020 WL 1933169, at *3 (S.D. Fla. Apr. 14, 2020); see also

    Morchem Indus. Inc., 2021 WL 5014105, at *4.

           The 859-paragraph complaint is also replete with “and/or” allegations, making it

    impossible to discern exactly what Plaintiffs allege with respect to any individual Plaintiff and any

    individual Movant, a hallmark of a “shotgun” pleading. For example, Plaintiffs allege that “the

    FTX Platform, YBAs and/or FTT” was sold and offered to them—but no Plaintiff alleges he or

    she actually opened a YBA or purchased FTT. CAC ¶ 771. The complaint states only that Plaintiffs

    “purchased or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited

    or invested through an FTX Platform.” Id. ¶¶ 39-54. “Either a fact or conclusion is alleged or

    isn’t.” Zhang v. Royal Caribbean Cruises, Ltd., 2019 WL 8895224, at *2 (S.D. Fla. Mar. 7, 2019)

    (“admonish[ing]” plaintiffs “not to allege facts in the alternative” through “and/or” allegations);

    see also Bacon v. Celebrity Cruises, Inc., 2021 WL 3191058, at *2 (S.D. Fla. July 7, 2021).

           As another example, Plaintiffs allege that the “MDL Defendants directly perpetrated,

    conspired to perpetrate, and/or aided and abetted the FTX Group’s multi-billion-dollar frauds for

    their own financial and professional gain.” CAC ¶ 6. This single sentence lumps together widely

    disparate parties (including former FTX executives who have pleaded guilty to fraud) and widely

    disparate allegations of misconduct, providing no notice of the allegations against any Movant.

           Plaintiffs have been on notice of these defects and have had several opportunities to cure

    them. See, e.g., ECF No. 124 (motion to stay discovery detailing the pleading flaws); Garrison



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    Action ECF No. 154 (motion to dismiss). They have consistently failed to cure these basic pleading

    errors. Dismissal with prejudice is therefore warranted on this ground alone. See Barmapov v.

    Amuial, 986 F.3d 1321, 1324 (11th Cir. 2021).

              Lack Of Causation: As detailed infra, causation is an essential element of Plaintiffs’

    securities and consumer protection claims. Yet Plaintiffs do not—and cannot—connect their

    alleged losses to Movants’ alleged general advertising related to FTX. Plaintiffs do not allege they

    directed any funds to FTX following each or any Movant’s involvement with an FTX

    advertisement. Moreover, none of Movants’ alleged advertisements mentions YBAs or FTT, the

    alleged securities on which Plaintiffs’ claims are based.10 General advertising of the FTX brand,

    without any mention of specific products, cannot plausibly make Movants sellers of any product

    or service offered by FTX, see, e.g., Dillon v. Axxsys Int’l, Inc., 185 F. App’x 823, 828 (11th Cir.

    2006), but the causal chain here is even more attenuated because no Plaintiff even alleges facts to

    show that s/he invested in FTT or YBAs at all, much less viewed any advertisement involving a

    Movant. See CAC ¶¶ 39-54. The causal chain then breaks completely because Plaintiffs allege

    they suffered financial losses, not because of generic advertising, but because of FTX’s clandestine

    fraud and theft. Id. ¶¶ 6, 145, 166. The complaint’s 859 paragraphs contain no facts alleging how

    Movants supposedly participated in FTX’s fraud; all Plaintiffs allege is that Movants participated

    in standard advertising arrangements for FTX’s brand. Id. ¶¶ 287-703.

              Plaintiffs’ securities and consumer protection claims thus fail because Plaintiffs do not

    plead any causal link between the generic advertisements for FTX and Plaintiffs’ alleged losses.

              No Plausibly Pled Allegations Of Knowledge: Plaintiffs’ remaining claims all hinge on


    10
         Plaintiffs’ vague allegation that Movants sold the “FTX Platform” as a security is utter nonsense.

    CAC ¶¶ 262-71, 818. The FTX trading platform is not a security. See infra Part V.B.1.


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    their conclusory assertion that Movants knew about and intentionally participated in the

    “thoroughly concealed” fraud taking place at FTX. Id. ¶ 145. But Plaintiffs have stated no non-

    conclusory facts to plausibly support this. Indeed, as outlined above, in sharp contrast to their

    detailed allegations regarding the FTX insiders’ participation in and knowledge of the fraud,

    Plaintiffs fail to allege a single fact (as opposed to unsupported conclusions) with respect to any

    Movant plausibly suggesting that Movants were aware of, participated in, or otherwise furthered

    FTX’s secret fraud.

             Plaintiffs spill a lot of ink describing Movants’ generic advertisements and general business

    connections. See id. ¶¶ 287-703. But, at bottom, Plaintiffs allege only that Movants entered into

    standard advertising and sponsorship agreements with FTX or its affiliates or otherwise engaged

    in advertising efforts for the FTX brand. See id. They fail to plead any facts remotely suggesting

    active and knowing participation in FTX’s secret misconduct.

             To be sure, Plaintiffs conclusorily state that “anyone who ha[d] done business with FTX,

    including paid endorsers, would . . . have personally witnessed one or more of the deficiencies”

    from which they could have divined FTX was engaging in fraud.11 Id. ¶¶ 278, 724. And they allege

    that various Movants’ “substantial investment experience” or “prominence” and “vast resources

    to obtain outside advisors” show that they “knew or should have known of potential concerns about

    FTX selling unregistered crypto securities and/or that they were aiding and abetting FTX Group’s


    11
         This conclusion is, of course, contradicted by the many people who did business with FTX

    without such knowledge, including sophisticated investors, municipalities, and Plaintiffs

    themselves. See, e.g., ECF No. 179-2 at 5 (Former junior FTX employee discussing FTX naming

    rights deal for the arena: “It required a lot of just financial due diligence, a lot of education, and

    they [Miami-Dade County and the Miami Heat] took the time to learn.”).


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    fraud and/or conversion.” Id. ¶¶ 331, 364, 396, 418, 462, 537, 599, 622, 649, 696.12 But these

    generic allegations regarding simply doing business with FTX, or having advisors or investment

    experience, are not enough to plead that Movants knew about FTX’s fraud. See Stevens v. Osuna,

    877 F.3d 1293, 1310 (11th Cir. 2017) (“Plaintiff’s unsupported conclusory assertions that

    Defendants generally—including Mooney—‘caused, participated in, condoned, or covered up’

    various alleged wrongs also fail to satisfy the federal pleading standard.”).

              Even more importantly, Plaintiffs’ suggestion that Movants “must have” known of FTX’s

    fraud is contradicted by their own pleading. Plaintiffs allege that the FTX insiders actively

    concealed their fraud, and they concealed it so well that regulators, lenders, institutional investors,

    and FTX’s own customers (including Plaintiffs themselves) all failed to discover it prior to FTX’s

    collapse. See, e.g., CAC ¶¶ 145, 159-60, 162, 166, 182, 186, 266, 269-70, Exs. A ¶ 9, C at 25-26.

    Indeed, Plaintiffs rely heavily on the Declaration of Dan Friedberg (ECF No. 179-1), FTX’s Chief

    Regulatory Officer who “oversaw all lawyers” at FTX, which avers that the three core FTX

    insiders who orchestrated FTX’s fraud concealed it even from their own colleagues. CAC ¶¶ 13-

    17, 731, Ex. A ¶¶ 6-7, 9. Friedberg personally claims to have “had no idea” of the fraud occurring

    at his company until November 7, 2022—long after any of Movants’ deals. Id., Ex. A ¶¶ 7, 9.


    12
         With respect to GSW, Plaintiffs do not allege even this much; rather, they allege only that GSW

    “must have” looked into FTX’s business. CAC ¶ 489. That says nothing about what GSW knew

    about FTX, much less what GSW knew about FTX’s secret fraud (which even FTX’s own Chief

    Regulatory Officer allegedly did not know about). Id. Ex. A ¶¶ 7, 9. As to others, Plaintiffs

    contradict themselves still further—claiming in one moment that a Movant had actual knowledge

    of FTX’s fraud and in the next that he failed to do any due diligence at all. Compare id. ¶ 649, with

    id. ¶ 650.


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           The complaint also repeatedly recognizes the FTX executives’ active concealment of their

    fraud. The First Interim Report in the FTX bankruptcy, Exhibit C to the CAC (ECF No. 179-3),

    demonstrates that “Bankman-Fried, Wang, and Singh . . . controlled nearly every significant aspect

    of the FTX Group,” “lied to third parties about their business,” and intentionally misled

    regulators. Id. at 3, 7, 26; see also, e.g., id. at 11 (falsifying audit policies), 19-21 (lying about

    Alameda and secretly altering FTX core code to benefit Alameda), 25 (lying about hot/cold wallet

    setup). Plaintiffs themselves allege that the FTX platform was a fraud, CAC ¶ 181, that FTX’s

    leaders agreed “to provide materially misleading financial statements to Alameda’s lenders,” id.

    ¶ 159, that FTX and Alameda operated as a common enterprise, contrary to representations of FTX

    insiders, id. ¶¶ 149-51, and that “FTX clearly violated their [sic] own terms of service,” id. ¶¶ 131-

    32. Further, Plaintiffs allege FTX induced many Movants themselves to agree to take

    compensation in FTX stock or cryptocurrency, id. ¶¶ 295, 339, 395, 425, 580, 606—an illogical

    act if those Movants “knew” FTX was a valueless sham.

           Plaintiffs specifically allege that FTX’s regulators, investors, and even its Chief Regulatory

    Officer were all unaware of FTX’s concealed fraud; therefore, it is wholly implausible that any of

    the Movants would have known merely by virtue of their general resources. Accordingly, in the

    face of the specifically-pleaded facts and complaint exhibits that doom Plaintiffs’ claims,

    Plaintiffs’ conclusory allegations that Movants “must have” divined FTX’s fraud through their

    business dealings, based on alleged “red flags” only visible now—after FTX’s criminal conduct

    has become public—must be rejected in their entirety. See FTC v. AbbVie Prods. LLC, 713 F.3d

    54, 63 (11th Cir. 2013) (“At the motion-to-dismiss stage, we consider the facts derived from a

    complaint’s exhibits as part of the plaintiff’s basic factual averments. We even treat specific facts

    demonstrated by exhibits as overriding more generalized or conclusory statements in the complaint



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    itself.”).

             These threshold pleading failures demonstrate that Plaintiffs’ claims are wholly

    implausible and should be dismissed on this basis alone.

             B.     Plaintiffs Fail To State Any Claim

             Plaintiffs’ claims fail not only for the dispositive reasons above but also because Plaintiffs

    fail to plead essential elements of each of their claims.

                    1.      Plaintiffs Fail To State A Claim Under Any State’s Securities Act

             Counts 1, 8, and 13 allege claims under the Florida Securities Act, Fla. Stat. § 517.07, the

    California Securities Act, Cal. Corp. Code § 25110, and the Oklahoma Securities Act, 71 O.S. § 1-

    301. All fail as a matter of law.

             FTX itself is not a security that Plaintiffs “purchased” by using the application or

    trading platform. Aware that their claims with respect to YBAs and FTT suffer the fatal defect

    that no Movant ever mentioned those products (and no Plaintiff actually alleges s/he purchased

    any of them), Plaintiffs proffer a novel, barely-half-baked theory that Movants’ general promotion

    of FTX—the company—nevertheless involved the sale of unregistered securities because,

    according to Plaintiffs, FTX “may have” used customer funds to purchase registered or

    unregistered securities for itself or its affiliates. CAC ¶¶ 262-71. But even if true, that does not

    make FTX a security. At the risk of stating the obvious, trading platforms or exchanges are not

    securities, and Plaintiffs identify no authority holding otherwise.

             That leaves Plaintiffs’ claim that Movants are liable for the sale of YBAs and FTT. Even




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    accepting arguendo Plaintiffs’ allegation that these products were securities,13 Plaintiffs fail to

    allege liability under any of the relevant state statutes.

              Florida, California, and Oklahoma all limit who may be liable for the sale of

    unregistered securities. In Florida, liability for the sale of an unregistered security extends to only

    two groups: (i) the “person making the sale” of the unregistered security; and (ii) directors, officers,

    partners, and agents of the seller who “personally participate[] or aid[] in making the sale.” Fla.

    Stat. § 517.211(1); see also J.P. Morgan Sec., LLC v. Geveran Invs. Ltd., 224 So. 3d 316, 327 (Fla.

    Dist. Ct. App. 2017). Under Florida law, the only “person making the sale” is the person in privity

    with the buyer of the alleged security. See Trilogy Props. LLC v. SB Hotel Assocs. LLC, 2010 WL

    7411912, at *12 (S.D. Fla. Dec. 23, 2010) (“[F]or a buyer to have a claim under Florida Statutes

    § 517.211, buyer/seller privity must exist.”); In re Sahlen & Assocs., Inc. Sec. Litig., 773 F. Supp.

    342, 372 (S.D. Fla. 1991) (plaintiff may recover under first prong of § 517.211 only from “his

    seller, who he is in privity with.”).

              California similarly requires a showing of either privity or that defendant both “materially

    assist[ed]” in the sale of the unregistered security and did so with the “intent to deceive or defraud.”

    Cal. Corp. Code §§ 25110, 25503, 25504.1; see also In re All. Equip. Lease Program Sec. Litig.,


    13
         The question of whether these products constitute securities likely depends on facts unpleaded

    by Plaintiffs and unknown to Movants, who were not involved with either product. Movants note

    that courts have rejected the argument that digital tokens are securities in some circumstances,

    depending on the facts. See, e.g., SEC v. Ripple Labs, Inc., 2023 WL 4507900, at *11-14 (S.D.N.Y.

    July 13, 2023) (XRP tokens were not securities where purchasers had no reason to expect that their

    payments would increase the value of XRP because they did not know who they had purchased

    the XRP from.).


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    2002 WL 34451621, at *11 (S.D. Cal. Oct. 15, 2002); Hollifield v. Resolute Cap. Partners Ltd.,

    LLC, 2023 WL 4291524, at *6 (C.D. Cal. May 12, 2023). Likewise, in the context of sales by

    unlicensed broker-dealers, only those in privity with the buyer may be directly liable. Cal. Corp.

    Code §§ 25210(b), 25501.5; see also Jackson v. Fischer, 2015 WL 1143582, at *22 (N.D. Cal.

    Mar. 13, 2015) (“Section 25501.5 expressly requires privity of contract as a condition to

    liability.”).

            Finally, Oklahoma requires either privity or a successful offer of sale, or that the defendant

    both controlled, oversaw, or otherwise “materially aid[ed]” in the sale and knew, or “in the

    exercise of reasonable care” could have known, of the conduct giving rise to the violation. 71 O.S.

    § 1-509; Nikkel v. Stifel, Nicolaus & Co., Inc., 542 P.2d 1305, 1308 (Okla. 1975); Sagicor Life Ins.

    Co. v. BOSC, Inc., 2007 WL 9711010, at *2 (W.D. Okla. Jan. 24, 2007).

            Plaintiffs have not pled facts to satisfy these elements.

            No privity: Plaintiffs do not—and cannot—allege that any Movant is in privity with any

    Plaintiff buyer of the alleged securities, as required for any Movant to be a “seller” under each

    state’s laws. Fla. Stat. § 517.07; Cal. Corp. Code §§ 25110, 25503; Nikkel, 542 P.2d at 1308;

    Sagicor Life Ins. Co., 2007 WL 9711010, at *2; see also In re All. Equip. Lease Program Sec.

    Litig., 2002 WL 34451621, at *11 (“Section[] . . . 25503 only impose[s] liability on direct sellers;

    strict privity is required.”); Trilogy Props. LLC, 2010 WL 7411912, at *12 (similar); Hollifield,

    2023 WL 4291524, at * 6 (dismissing claims under § 25110 where plaintiffs did not allege any

    direct transaction with any defendant or that any defendant passed title to the challenged

    securities). Plaintiffs nowhere allege that any Movant entered into a contract or is otherwise in

    privity with them. To the contrary, Plaintiffs acknowledge that the “FTX entities sold and offered

    to sell the unregistered YBAs to Plaintiffs.” CAC ¶ 773.



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           No solicitation of, personal participation in, or material aid in the sale of YBAs or

    FTT: As explained above, in the absence of privity, securities liability in each state requires, at

    minimum, “direct[] involve[ment] in a sale of securities,” J.P. Morgan, 224 So. 3d at 328, see also

    Cal. Corp. Code §§ 25110, 25503, 25504.1; 71 O.S. §§ 1-301, 1-509(G)(3)-(5), and “activity in

    inducing the purchaser to invest,” Groom v. Bank of Am., 2012 WL 50250, at *5 (M.D. Fla. Jan.

    9, 2012); Bailey v. Trenam Simmons, Kemker, Scharf, Barkin, Frye & O’Neill, P.A., 938 F. Supp.

    825, 828 (S.D. Fla. 1996) (“[L]iability only extends to persons who successfully solicit the

    purchase[.]”); AREI II Cases, 216 Cal. App. 4th 1004, 1015 (2013) (“[T]he complaint must include

    allegations demonstrating how the defendant assisted in the act of selling or offering to sell

    securities[.]”); Marks v. Buckner, 1984 U.S. Dist. LEXIS 18692, at *10 (N.D. Okla. Mar. 13, 1984)

    (finding no material aid in the absence of actual reliance).

           Plaintiffs do not allege that any Movant was involved in FTX’s alleged sale of YBAs or

    FTT to any of the Plaintiffs. Plaintiffs do not allege that any of the Movants even mentioned YBAs

    or FTT. Plaintiffs point only to commercials promoting the FTX exchange (a platform for buying

    and selling all kinds of crypto and fiat assets), announcements of FTX sponsorships, or logo

    placements. None of these statements (or non-statements) mentions—let alone could plausibly

    have “actively and directly . . . influence[d] or induce[d] [Plaintiffs] to buy”—YBAs or FTT.

    Dillon v. Axxsys Int’l, Inc., 385 F. Supp. 2d 1307, 1311 (M.D. Fla. 2005), aff’d, 185 F. App’x 823

    (11th Cir. 2006); see also Groom, 2012 WL 50250, at *5; Sagicor Life Ins. Co., 2007 WL 9711010,

    at *2 (dismissing claims where defendant was not alleged to have “directly solicited Plaintiff to

    purchase the bonds” at issue).

           Further, Plaintiffs also fail to plead that any alleged solicitation by any Movant induced

    any of them to purchase any unregistered security. See, e.g., AREI II, 216 Cal. App. 4th at 119



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    (granting demurrer without leave to amend where “plaintiffs d[id] not allege they relied on the

    offering memorandum prepared by [defendant] or were even aware of its existence”); Dillon, 385

    F. Supp. 2d at 1310-11 (no liability for “personally participat[ing] or aid[ing] in the sale of an

    unregistered security . . . [unless defendant] personally engage[d] in some act or acts that induce[d]

    a purchaser to invest.”); Marks, 1984 U.S. Dist. LEXIS 18692, at *10. Plaintiffs wholly fail to

    allege either that they purchased the alleged securities (YBAs and FTT) or that they did so as a

    result of any Movant’s alleged actions. CAC ¶¶ 39-54. And this failure cannot be cured because

    no Movant ever mentioned either product.14

             Plaintiffs’ Florida, California, and Oklahoma securities claims should therefore be

    dismissed with prejudice.

             While the failure to plead these core elements dooms all of Plaintiffs’ securities claims,

    Plaintiffs’ Florida and California claims suffer even further fatal infirmities.




    14
         To the extent Plaintiffs claim they need only show (1) that they purchased an unregistered

    security and (2) that Movants promoted that unregistered security (something Plaintiffs cannot

    plead for the reasons discussed above), see CAC ¶ 36, Plaintiffs are wrong as a matter of law.

    Under any standard, Plaintiffs must plead and prove not only that Movants successfully solicited,

    personally participated, or materially aided, in the sale of an unregistered security, but also that

    Plaintiffs purchased such unregistered security as a result of Movants’ conduct. See, e.g., Dillon,

    385 F. Supp. 2d at 1310-11; AREI II, 216 Cal. App. 4th at 1016-19; Marks, 1984 U.S. Dist. LEXIS

    18692, at *10; see also Wildes v. BitConnect Int’l PLC, 25 F.4th 1341, 1346 (11th Cir. 2022)

    (“[F]or solicitation to occur, a person must ‘urge or persuade’ another to buy a particular security”

    and “purchases [of that security must] follow[].”).


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           No plausible allegations that Movants acted as agents, partners, directors, or officers

    of FTX: Plaintiffs’ Florida securities claims further fail because Plaintiffs do not allege specific

    facts to show plausibly that any Movant served as an agent, partner, director, or officer of FTX.

    Plaintiffs baldly allege that Movants “are agents” of FTX, perhaps because they entered routine

    “spokesperson and marketing services,” “partnership,” “brand ambassador,” “promotion[al],” or

    “naming rights” agreements with FTX. CAC ¶¶ 56-62, 63-67, 68, 293, 297, 306, 339, 323-24, 340,

    343, 372, 383, 387, 402, 404, 423-24, 447, 468, 502-03, 578, 592, 601, 602, 611-12, 626, 667,

    674, 683. This is insufficient as a matter of law to establish an agency relationship, let alone an

    agency relationship with respect to the sale of securities. See, e.g., Dinaco, Inc. v. Time Warner,

    Inc., 346 F.3d 64, 69 (2d Cir. 2003) (“If advertising is the stuff of agency then every advertisement

    by a franchisee with the franchisor’s mark would confirm an agency.”); Leon v. Caterpillar Indus.,

    Inc., 69 F.3d 1326, 1336 (7th Cir. 1995) (permission to use another’s trademark in advertising does

    not create agency relationship.); Cawthon v. Phillips Petroleum Co., 124 So. 2d 517, 519 (Fla.

    Dist. Ct. App. 1960) (“general advertisement” did not constitute an assertion of agency.).

           No intent to defraud: Plaintiffs’ California securities claims also independently fail

    because—as detailed supra, at pp. 17-18, Plaintiffs have not plausibly alleged, and could not

    plausibly allege, “intent to deceive or defraud,” which requires both “actual knowledge . . . of the

    wrong and of [the defendant’s] role in furthering it.” Orloff v. Allman, 819 F.2d 904, 907 (9th Cir.

    1987), abrogated on other grounds by Hollinger v. Titan Cap. Corp., 914 F.2d 1564 (9th Cir.

    1990); see also Schaffer Fam. Inv., LLC v. Sonnier, 120 F. Supp. 3d 1028, 1045-46 (C.D. Cal.

    2015). Plaintiffs provide no support for their assertion that “secondary liability for materially

    assisting a . . . violation pursuant to section 25503[] does not require proof that [Movants] intended

    to deceive or defraud.” CAC ¶ 818 n.52. To the contrary, it is well-established “that California law



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    is even stricter than [federal securities law because it] restricts liability for aiding and abetting a

    state securities violation to cases where it is shown that the defendant had an intent to deceive or

    defraud.” Orloff, 819 F.2d at 907. Indeed, courts have held that constructive knowledge is

    insufficient to establish the requisite scienter. Koehler v. Pulvers, 614 F. Supp. 829, 836, 838-39

    (S.D. Cal. 1985). Plaintiffs’ conclusory allegations that Movants “knew or should have known” of

    FTX’s alleged securities laws violations, CAC ¶¶ 331, 364, 396, 417-18, 462, 487-89, 537, 540,

    599, 622, 649, 696, do not meet this high bar—and especially not with the particularity required

    by Rule 9(b).15 Hollifield, 2023 WL 4291524, at *6-7.16



    15
         Any allegation that Movants materially aided under Oklahoma law would likewise fail because

    Plaintiffs have not pled particularized facts to establish any Movant’s knowledge that (or

    recklessness with respect to whether) the alleged securities were unregistered. See Westinghouse

    Credit Corp. v. Founders Bank & Tr. Co., 1987 WL 1435734, at *12 (W.D. Okla. Oct. 26, 1987).

    It simply is not enough to allege—as Plaintiffs do—that Movants “knew or should have known”

    of the unlawful conduct. See Farlow v. Peat Marwick Mitchell & Co., 666 F. Supp. 1500, 1506

    (W.D. Okla. 1987).
    16
         To the extent Plaintiffs separately claim liability under Cal. Corp. Code §§ 25210(b) and 25501.5

    for “encouraging the FTX Group to offer and sell” unregistered securities, CAC ¶ 820, in addition

    to the lack of privity between Movants and Plaintiffs, see supra, at p. 18, those claims also fail

    because Plaintiffs include no allegations showing that either Movants or FTX qualify as a broker-

    dealer under California law. See Culbertson v. Schuchert, 110 F.3d 67, 67 (9th Cir. 1997) (“If

    [defendant] merely introduced the buyer and seller,” he does not qualify as a broker-dealer under

    §§ 25501.5 and 25210.); Konopasek v. Ten Assocs., LLC, 2018 WL 6177249, at *5 (C.D. Cal. Oct.



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                    2.      Plaintiffs Fail To State A Claim Under Florida, California, Or
                            Oklahoma Consumer Protection Laws

            Plaintiffs’ consumer protection claims—brought under Florida (Count 2, FDUTPA),

    California (Count 7, UCL), and Oklahoma law (Count 12, OCPA)—likewise fail. Those laws do

    not apply to securities transactions like those alleged here. Nor have Plaintiffs sufficiently alleged

    the elements of these claims, let alone with the particularity required by Rule 9(b).

                            a.     The Consumer Protection Claims Do Not Apply To Alleged
                                   Securities Transactions

            Florida, California, and Oklahoma consumer protection claims—like the Federal Trade

    Commission Act (“FTC Act”) on which they are modeled—are inapplicable to alleged misconduct

    “rooted in [alleged] securities transactions.” Feng v. Walsh, 2021 WL 8055449, at *13 (S.D. Fla.

    Dec. 21, 2021), report and recommendation adopted, 2022 WL 669198 (S.D. Fla. Mar. 7, 2022)

    (dismissing FDUTPA claim); see also Betz v. Trainer Wortham & Co., Inc., 829 F. Supp. 2d 860,

    866 (N.D. Cal. 2011) (“No court, however, has allowed [claims under California’s UCL] to

    proceed where, as here, the predicate acts are [alleged] securities transactions.”); Robertson v.

    White, 633 F. Supp. 954, 978 (W.D. Ark. 1986) (the OCPA does not “concern[] itself” with the

    sale of securities.).

            Plaintiffs allege that YBAs, FTT, and FTX the company are unregistered securities “sold”

    by the Movants. See, e.g., CAC ¶¶ 10, 27, 30, 233, 246-71, 771. As a result, this case is “rooted”


    22, 2018) (granting motion to dismiss claim under § 25501.5 where plaintiff “d[id] not allege facts

    indicating that [defendants] acted as . . . broker-dealers”); Jackson, 2015 WL 1143582, at *23

    (“Because Jackson fails to allege facts sufficient to establish a primary violation of § 25501.5 as

    to Fischer, the court need not consider whether § 25501.5 authorizes a private right of action

    against secondary actors who participate in a primary violation of § 25501.5.”).


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    in alleged securities transactions and these state consumer protection statutes do not apply.

                           b.     The Complaint Fails To Plead The Required Elements

           Plaintiffs’ consumer protection claims further fail on their alleged facts. To assert a

    FDUTPA, UCL, or OCPA claim, a plaintiff must plead, with particularity: (1) a knowingly

    unlawful, unfair, or deceptive practice; (2) causation; and (3) damages. SIG, Inc. v. AT&T Digit.

    Life, Inc., 971 F. Supp. 2d 1178, 1195 (S.D. Fla. 2013); Marolda v. Symantec Corp., 672 F. Supp.

    2d 992, 1004 (N.D. Cal. 2009); Dinwiddie v. Suzuki Motor of Am., Inc., 111 F. Supp. 3d 1202,

    1215 (W.D. Okla. 2015).

                                  (1)     No Knowingly Unlawful, Unfair, Or Deceptive Act Or
                                          Unfair Practice

           Plaintiffs wholly fail to satisfy Rule 9(b) because their 400-plus paragraphs of allegations

    regarding Movants’ advertising for and sponsorships by FTX fail entirely to establish that any

    Movant engaged in knowingly false or deceptive practices, or that any Plaintiff actually suffered

    harm as a result of any Movant’s conduct. Rule 9 requires specific, non-conclusory allegations

    demonstrating “the content of [statements at issue] and the manner in which they misled the

    plaintiff.” Perret v. Wyndham Vacation Resorts, Inc., 846 F. Supp. 2d 1327, 1332-33 (S.D. Fla.

    2012) (dismissing FDUTPA claim under Rule 9(b) where the allegations failed to explain “who

    made the statements to them” and “how the statements misled [p]laintiffs”). Plaintiffs do not and—

    critically—cannot explain how a Movant appearing next to FTX’s name saying things like “FTX,

    you in?” or displaying the letters “FTX” at their arena (for GSW) or on their clothes (e.g., for Ms.

    Osaka) plausibly deceives anyone. Plaintiffs’ conclusory allegations that those generic

    advertisements are deceptive solely because FTX turned out to have secretly engaged in fraud, see

    CAC ¶¶ 330, 361-63, 394-95, 415, 461, 486, 533-34, 536, 598, 618-21, 647-48, 694-95, 779-85,

    846-48, fail to meet Rule 9 (or even Rule 8) pleading standards. See, e.g., Pop v. Lulifama.com


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    LLC, 2023 WL 4661977, at *3 (M.D. Fla. July 20, 2023) (dismissing FDUTPA claim because,

    inter alia, plaintiff failed to identify “which posts from the Influencer Defendants led him to

    purchase the [contested] product or provided any details of the . . . Defendants’ alleged scheme to

    pay the Influencer Defendants to promote [the contested] products—other than asserting that [the

    seller] pays ‘significant monies’ to promote its products”).

                                             (a) The Statements Are Puffery

           Plaintiffs do not plead any specific, actionable misrepresentations by any Movant. Instead,

    Plaintiffs allege that some Movants expressed generalized support for FTX or made claims that

    FTX was “better” or “safer” than other alternatives. CAC ¶¶ 30, 274, 304-05, 330, 354, 361, 394,

    438, 461, 478, 536, 637, 640, 648, 695, 705-06, 716. Such statements are classic puffery that

    cannot sustain a FDUTPA, UCL, or OCPA claim. See Next Century Commc’ns Corp. v. Ellis, 318

    F.3d 1023, 1028 (11th Cir. 2003) (holding that a statement amounted to non-actionable puffery

    where the statement was “not the sort of empirically verifiable statement that can be affirmatively

    disproven”); see also Renfro v. Champion Petfoods USA, Inc., 25 F.4th 1293, 1302 (10th Cir.

    2022) (“[G]eneral statements of opinion typically constitute protected puffery, while specific

    representations of fact can form the basis of a deceptive trade practice claim.”) (alteration in

    original); In re Sony Grand Litig., 758 F. Supp. 2d 1077, 1089 (S.D. Cal. 2010) (“[O]nly

    misdescriptions of specific or absolute characteristics of a product are actionable.”). Puffery

    includes “general claims of superiority,” Mfg. Rsch. Corp. v. Greenlee Tool Co., 693 F.2d 1037,

    1040 (11th Cir. 1982), generic statements suggesting a company or product is better than its

    competitors, KeyView Labs, Inc. v. Barger, 2020 WL 8224618, at *10 (M.D. Fla. Dec. 20, 2020),

    and statements suggesting a product is safe or secure, see Carvelli v. Ocwen Fin. Corp., 934 F.3d

    1307, 1320 (11th Cir. 2019). Plaintiffs do not allege a single statement by any Movant that goes

    beyond puffery or general brand promotion.

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                                             (b) Movants Did Not Participate In Misconduct

             To the extent Plaintiffs contend that the Movants were generically involved in FTX’s

    misconduct, their claims likewise fail. When a FDUTPA, UCL, or OCPA claim is based on the

    deceptive acts of a corporation (e.g., FTX) with which a defendant has a business relationship, a

    plaintiff must establish that the defendant personally participated in and knew of the alleged

    wrongdoing. See SIG, 971 F. Supp. 2d at 1195 (to be liable under FDUTPA, a defendant must

    have “actively participated in or had some measure of control over the corporation’s deceptive

    practices and . . . the defendant had or should have had knowledge or awareness of the

    misrepresentations.”) (emphases in original); Taylor v. Costco Wholesale Corp., 2020 WL

    5982090, at *4 (E.D. Cal. Oct. 8, 2020) (defendant’s liability under the UCL “must be based on

    his personal participation in the unlawful practices and unbridled control over th[ose] practices”);

    15 O.S. § 753(2), (5) (making “a false or misleading misrepresentation, knowingly or with reason

    to know” is unlawful); 16 C.F.R. § 255.1(e) (“Endorsers may be liable for statements made in the

    course of their endorsements, such as when an endorser makes a representation that the endorser

    knows or should know to be deceptive[.]”); see also 15 U.S.C. § 45(m)(1)(A) (limiting liability

    under the FTC Act to persons “with actual knowledge or knowledge fairly implied on the basis of

    objective circumstances”).17

             Indeed, courts frequently reject FDUTPA claims (and similar claims under the FTC Act)

    where the plaintiff fails to plead facts showing that a defendant possessed knowledge that the

    company he worked for or promoted was engaging in deceptive acts, committing fraud, or


    17
         FDUPTA “directs” Florida courts “to give due consideration and great weight . . . to the

    interpretations of the Federal Trade Commission Act.” KC Leisure, Inc. v. Haber, 972 So. 2d 1069,

    1072-73 (Fla. Dist. Ct. App. 2008) (omission in original).


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    disseminating misleading advertising material. See, e.g., Silverboys, LLC v. Joelsson, 2020 WL

    13401917, at *12 (S.D. Fla. Nov. 30, 2020) (dismissing FDUTPA claim as to certain individual

    defendants where “Plaintiff’s allegations regarding these . . . [d]efendants d[id] not support an

    inference that these [d]efendants were aware of [the improper conduct of others]”); see also In re

    Oreck Corp. Halo Vacuum & Air Purifiers Mktg. & Sales Pracs. Litig., 2012 WL 6062047, at *16

    & n.8 (C.D. Cal. Dec. 3, 2012) (dismissing FDUTPA claim against defendant who was “merely

    an advertising spokesman,” in part due to plaintiffs’ failure to “allege facts showing that

    [defendant] had actual knowledge that the statements were false, [which] may subject him to

    liability under a direct participant theory”).

             As explained above, Plaintiffs do not and cannot plausibly allege any Movant had

    knowledge of or participated in FTX’s secret wrongdoing. See supra, at pp. 13-16.

                                               (c) Anti-Touting Rules Do Not Support Plaintiffs’
                                                   Consumer Protection Claims

             To the extent the FTC or SEC “anti-touting” guidelines and regulations, see CAC ¶¶ 27,

    34, 55, 306, 329, 374, 414, 416, 460, 486, 521, 535, 597, 604, form the basis of Plaintiffs’

    consumer protection claims, their claims fail for several reasons.

             First, a violation of the FTC guidelines does not constitute a per se violation of the statutes

    Plaintiffs rely on because guidelines “do[] not prescribe conduct” and thus are not FTC rules or

    regulations. Pop, 2023 WL 4661977, at *4 (FDUTPA); see also Lokai Holdings LLC v. Twin Tiger

    USA LLC, 306 F. Supp. 3d 629, 641 (S.D.N.Y. 2018) (dismissing UCL claim and stating that “the

    FTC does not provide a right of action, and [a plaintiff] cannot engineer one through California

    law”).

             Second, the advisory FTC guidelines suggest endorsers disclose compensation only where

    audiences would not “ordinarily” or “reasonably expect[]” that an ad is in fact an ad. 16 C.F.R.


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    § 255.5(a), (b)(2). Thus, the FTC disclosure requirements do not apply to commercials, print

    advertisements, or statements involving a person who describes himself as an endorser, or to any

    other situation where the facts would not “plausibly raise an inference that the non-disclosure of

    paid endorsements is likely to lead consumers to believe that the endorsements are unpaid” on

    social media or any other advertising forum. Lokai Holdings LLC, 306 F. Supp. 3d at 641-42; see

    also 16 C.F.R. § 255.5(a) (compensation only “needs to be disclosed when a significant minority

    of the audience for an endorsement does not understand or expect” that the endorser is being

    compensated.).

           Here, it strains credulity for Plaintiffs to claim that anyone was deceived into thinking that,

    for example, a Movant acting in a Super Bowl commercial or appearing on a billboard was not

    receiving compensation. CAC ¶¶ 630-40. Moreover, Plaintiffs plead a widespread FTX advertising

    campaign in which FTX broadly publicized its agreements with well-known individuals and

    companies, as detailed supra, at n.6. The challenged advertisements thus obviously involve paid

    endorsements far outside the FTC guidelines.

           Third, to the extent Plaintiffs’ claims rest on the SEC’s disclosure requirements, the

    consumer protection statutes they rely on cannot be applied to claims predicated on securities laws

    violations. See supra, at pp. 23-24. In any case, the relevant SEC provision applies only where the

    advertisement “describes” a “security.” 15 U.S.C. § 77q(b). As detailed above, no Movant is

    alleged to have “described” an alleged security in any advertisement for FTX.

                                  (2)     Plaintiffs Fail To Allege Causation

           Plaintiffs also fall far short of alleging the required “direct” or “immediate” causal nexus

    between Movants’ alleged conduct and any actual damage Plaintiffs suffered. See supra, at pp. 12-

    13; Justice v. Rheem Mfg. Co., 318 F.R.D. 687, 696-97 (S.D. Fla. 2016); Corbett v. PharmaCare



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    U.S., Inc., 567 F. Supp. 3d 1172, 1185 (S.D. Cal. 2021); Walls v. Am. Tobacco Co., 11 P.3d 626,

    630 (Okla. 2000). Here, the “direct” cause of Plaintiffs’ injuries was FTX’s secret misconduct, not

    the Movants’ statements. FTX and its insiders—not Movants—allegedly misappropriated

    Plaintiffs’ funds. CAC ¶¶ 148-58. Where, as here, a plaintiff is damaged by a third party’s actions,

    the causal chain is broken and the consumer protection claim fails. See Lombardo v. Johnson &

    Johnson Consumer Cos., Inc., 124 F. Supp. 3d 1283, 1290 (S.D. Fla. 2015); Berkoff v. Masai USA

    Corp., 2011 WL 13224836, at *6 (C.D. Cal. Mar. 3, 2011). Moreover, because Plaintiffs have

    “failed to allege whether [they] viewed [the alleged misrepresentations] at all before purchasing

    the allegedly defective products,” they have not pled causation and their claims fail. Pop, 2023

    WL 4661977, at *3 (second alteration in original).

                                  (3)     Plaintiffs’ UCL Claim Fails For Lack Of A Remedy

           Plaintiffs’ UCL claim also fails because “[a] UCL action is equitable in nature” and relief

    is “limited to injunctive relief and restitution.” Korea Supply Co. v. Lockheed Martin Corp., 29

    Cal. 4th 1134, 1144 (2003). Here, Plaintiffs have no claim to injunctive relief. There is no threat

    of repeated injury in the future, and they likewise fail to allege any basis for restitution from

    Movants—as opposed to FTX, which allegedly sold the unregistered securities—because “any

    award that [P]laintiffs would recover from [Movants] would not be restitutionary as it would not

    replace any money or property that [Movants] took directly from [P]laintiff[s].” Sugarman v.

    Brown, 73 Cal. App. 5th 152, 164 (2021), unpublished (quoting Korea Supply, 29 Cal. 4th at 1150-

    51). Plaintiffs cannot obtain damages under the UCL, which alone defeats their claim. Id.

           All of Plaintiffs’ consumer protection claims should be dismissed.

                   3.      Plaintiffs Fail To State Claims For Civil Conspiracy

           The Court should also dismiss Counts 3 and 11, alleging civil conspiracy. Civil conspiracy

    requires: (1) an agreement between multiple parties, (2) to do an unlawful act by unlawful means,

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    (3) the doing of some overt act in furtherance of the conspiracy, and (4) damage as a result of those

    acts. Feng, 2021 WL 8055449, at *11; Branscum v. San Ramon Police Dep’t, 2012 WL 6697672,

    at *8 n.12 (N.D. Cal. Dec. 22, 2012). When a civil conspiracy claim sounds in fraud, as here, the

    plaintiff must meet the heightened pleading standards of Rule 9(b). See supra, at pp. 9-10.

           Plaintiffs fail at the threshold requirement to plausibly and particularly allege an unlawful

    agreement among Movants. See Begualg Inv. Mgmt. Inc. v. Four Seasons Hotel Ltd., 2011 WL

    4434891, at *6 (S.D. Fla. Sept. 23, 2011); Meridian Tr. Co. v. Batista, 2018 WL 4693533, at *6

    (S.D. Fla. Sept. 26, 2018); Ajzenman v. Off. of Comm’r of Baseball, 487 F. Supp. 3d 861, 868-69

    (C.D. Cal. 2020). That Movants were allegedly paid to appear in advertisements falls far short of

    adequately alleging an agreement between Movants and FTX to commit fraud or some other

    unlawful act. See GE Real Est. Servs., Inc. v. Mandich Real Est. Advisors, Inc., 337 So. 3d 416,

    421 (Fla. Dist. Ct. App. 2021) (“To assume or speculate . . . that the [appellees] participated in a

    conspiracy . . . merely because they ultimately received some benefits from the [investments] is

    insufficient for the imposition of liability against them.”) (alterations and omissions in original).

           More fundamentally, Plaintiffs fail to identify what unlawful act any Movant supposedly

    conspired to do. Plaintiffs describe Movants’ promotional activities at great length, see CAC

    ¶¶ 287-750, but critically fail to explain in non-conclusory terms how any of these statements are

    connected to an unlawful act by any Movant. See, e.g., Apex Toxicology, LLC v. United

    HealthCare Servs., Inc., 2020 WL 13551299, at *3 (S.D. Fla. July 7, 2020) (noting that Rule 9(b)

    requires a plaintiff to identify “the content of such statements and the manner in which they

    misled the plaintiff”).

                   4.         Plaintiffs Fail To State Claims For Aiding And Abetting

           Counts 4, 5, 9, 10, and 14 (aiding and abetting) must similarly be dismissed. To state an

    aiding-and-abetting claim under Florida, California, or Oklahoma law, Plaintiffs must allege:

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    (1) an underlying violation by the primary wrongdoer; (2) the alleged aider and abettor’s

    knowledge of the underlying violation; and (3) the alleged aider and abettor’s substantial assistance

    in commission of the wrongdoing. Lawrence v. Bank of Am., N.A., 455 F. App’x 904, 906 (11th

    Cir. 2012) (Florida); Impac Warehouse Lending Grp. v. Credit Suisse First Bos. LLC, 270 F. App’x

    570, 572 (9th Cir. 2008) (California); Almeida v. BOKF, NA, 471 F. Supp. 3d 1181, 1197 (N.D.

    Okla. 2020) (Oklahoma). Even assuming each state permits such claims,18 and even though

    Plaintiffs detail FTX’s alleged wrongdoing, Plaintiffs fail entirely to plead the second and third

    elements, requiring dismissal.

                            a.       Plaintiffs Fail To Plead Actual Knowledge

             All three states require a plaintiff bringing aiding-and-abetting claims to allege that the

    defendant “ha[d] actual knowledge of the underlying [tort], not merely that certain red flags

    indicate a defendant should have known of the [tort].” Honig v. Kornfeld, 339 F. Supp. 3d 1323,

    1343 (S.D. Fla. 2018); see In re First All. Mortg. Co., 471 F.3d 977, 993 (9th Cir. 2006)

    (California); Almeida, 471 F. Supp. at 1197 (Oklahoma). To show such knowledge, plaintiff must

    include “allegations of specific facts that give rise to a strong inference of actual knowledge

    regarding the underlying fraud.” Lamm v. State St. Bank & Tr. Co., 889 F. Supp. 2d 1321, 1332

    (S.D. Fla. 2012), aff’d, 749 F.3d 938 (11th Cir. 2014). As detailed supra, at 5-7, Plaintiffs allege

    no facts suggesting that any Movant actually knew about any underlying “fraud” or “conversion”

    by FTX. Plaintiffs’ conclusory assertions of negligence and failure to investigate “red flags”

    cannot fill this gap. Perlman v. Wells Fargo Bank, N.A., 559 F. App’x 988, 994 (11th Cir. 2018);

    Almeida, 471 F. Supp. 3d at 1198; Honig, 339 F. Supp. 3d at 1343.


    18
         The availability of these claims under Oklahoma law is in doubt: the Oklahoma Supreme Court

    has not recognized claims for aiding and abetting fraud. Almeida, 471 F. Supp. 3d at 1197.


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                           b.      Plaintiffs Fail To Plead Substantial Assistance

           Plaintiffs also fail to allege that any Movant provided the requisite “substantial assistance.”

    ZP No. 54 Ltd. P’ship v. Fid. & Deposit Co. of Md., 917 So. 2d 368, 373 (Fla. Dist. Ct. App. 2005);

    see Impac Warehouse Lending Grp., 270 F. App’x at 572; Almeida, 471 F. Supp. 3d at 1197.

    “[T]he knowledge and substantial assistance components” of aiding and abetting “should be

    considered relative to one another as part of a single inquiry designed to capture conscious culpable

    conduct.” Twitter, Inc. v. Taamneh, 598 U.S. 471, 504-05 (2023). Thus, the “dearth of factual

    allegations on Defendants’ purported knowledge regarding the [alleged] scheme” shows that no

    facts could plausibly give rise “to the reasonable inference that the Defendants substantially

    assisted or encouraged the wrongdoing”—because no Movant is plausibly alleged to have even

    known about the “secret” fraud. Honig, 339 F. Supp. 3d at 1345; see Chen v. PayPal, Inc., 61 Cal.

    App. 5th 559, 583-84 (2021). Further, substantial assistance requires that “a defendant

    affirmatively assists, helps conceal or fails to act when required to do so, thereby enabling the

    [underlying tort].” Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1098 (11th Cir. 2017);

    see IIG Wireless, Inc. v. Yi, 22 Cal. App. 5th 630, 654 (2018). Plaintiffs do not allege adequately

    that any Movant “affirmatively assist[ed]” or “help[ed] conceal” FTX’s misconduct. Accordingly,

    Plaintiffs fail to allege substantial assistance, which means that their aiding and abetting claims

    fail. Chang, 845 F.3d at 1098.

                   5.      Plaintiffs Fail To Allege A Basis For Declaratory Relief

           Count 6, for declaratory relief, rises and falls with Plaintiffs’ other claims.

           First, “[d]eclaratory relief is a procedural device which depends on an underlying

    substantive cause of action and cannot stand on its own.” Eveillard v. Nationstar Mortg. LLC,

    2015 WL 127893, at *9 (S.D. Fla. Jan. 8, 2015). Thus, where the substantive claims fail, a claim

    for declaratory relief “must be dismissed.” Id.

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           Second, Plaintiffs do not allege any forward-looking harms, much less any immediate

    threat of irreparable harm, as required to obtain declaratory relief. To the contrary, each request in

    Count 6 asks the Court to evaluate Plaintiffs’ allegations of past conduct and past harms. None of

    the declarations Plaintiffs seek can redress these retrospective injuries. Any Plaintiff’s supposed

    “purchase[s]” of YBAs and FTT and use of FTX’s mobile application and web-trading services

    already occurred, and FTX “imploded” and filed for bankruptcy in November 2022. CAC ¶¶ 30-

    31. The absence of any ongoing or future harm requires dismissal. See, e.g., Park Place Kendall

    Condo. Ass’n, Inc. v. Rockhill Ins. Co., 2020 WL 18779644, at *2-3 (S.D. Fla. June 24, 2022);

    AquaDry Plus Corp. v. Rockhill Ins. Co., 2020 WL 927440, at *3 (S.D. Fla. Feb. 26, 2020).

           Third, “a declaratory judgment . . . is not for the purpose of making factual determinations,”

    Medmarc Cas. Ins. Co. v. Pineiro & Byrd PLLC, 783 F. Supp. 2d 1214, 1216 (S.D. Fla. 2011), but

    Plaintiffs’ declaratory claim seeks resolution only of “facts” or legal issues “that are dependent

    upon the facts,” CAC ¶ 805. The Court should resolve these questions, if at all, in connection with

    Plaintiffs’ other claims. Sierra Equity Grp., Inc. v. White Oak Equity Partners, LLC, 650 F. Supp.

    2d 1213, 1231 (S.D. Fla. 2009); cf. Calderon v. Ashmus, 523 U.S. 740, 748-49 (1998).

           Accordingly, Count 6 fails for each of these independent reasons.

           C.      Allowing Plaintiffs’ Claims To Proceed Raises First Amendment Concerns

           The First Amendment also mandates dismissal. Principles of constitutional avoidance

    militate strongly against interpreting state laws to impose tort liability for innocent commercial

    speech. See, e.g., Glasser v. Hilton Grand Vacations Co., LLC, 948 F.3d 1301, 1310 (11th Cir.

    2020). Indeed, even if Plaintiffs had identified any security on which their claims are based, the

    Supreme Court has cautioned against finding liability for “the expression of an opinion about

    marketable securities.” Lowe v. SEC, 472 U.S. 181, 210 n.58 (1985). The risk of First Amendment

    infringement is particularly high here, where Plaintiffs challenge speech without plausibly alleging

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    that any Movant spoke untruthfully or with actual knowledge of FTX’s wrongdoing. Bose Corp.

    v. Consumers Union of U.S., Inc., 466 U.S. 485, 513-14 (1984); Braun v. Soldier of Fortune Mag.,

    Inc., 968 F.2d 1110, 1118 (11th Cir. 1992).

              D.     The Cases Should Be Dismissed Because FTX Is An Indispensable Party

              Alternatively, even if the Court were to find that Plaintiffs state any claim, it should

    nonetheless dismiss the actions for failure to join indispensable party FTX. Under Rule 19, an

    absent party is necessary where it “claims an interest relating to the subject of the action” and

    resolution in its absence may, “as a practical matter,” impair the absent party’s “ability to protect”

    that interest, or where “the court cannot accord complete relief among existing parties” in that

    party’s absence. Fed. R. Civ. P. 19(a)(1). If a necessary party cannot be joined, the Court should

    consider whether “equity and good conscience” allow for resolution in that party’s absence. Id. at

    19(b).

                     1.     Under Both Prongs Of The Rule 19 Test, FTX Is A Necessary Party

              Plaintiffs’ claims turn on whether FTX violated the law. FTX allegedly provided YBAs,

    FTT, and mobile and web-based trading services to Plaintiffs; FTX allegedly failed to register

    those products as securities; and FTX allegedly misappropriated Plaintiffs’ deposits for its own

    use. CAC ¶¶ 145-66, 247-71. FTX has an interest in defending the legal status of the YBAs, FTT,

    and its trading services, all disputed in Plaintiffs’ unregistered securities claims. Id. ¶ 810; see also

    15 U.S.C. § 77l.19 And FTX alone has an interest in showing that its business practices were not

    fraudulent, a predicate that Plaintiffs must prove to prevail on their aiding and abetting claims. The


    19
         FTX need not “be bound by the judgment” “in the technical sense” for the Court to consider its

    interests. Provident Tradesmens Bank & Tr. Co. v. Patterson, 390 U.S. 102, 110 (1968); see

    Challenge Homes, Inc. v. Gr. Naples Care Ctr., Inc., 669 F.2d 667, 670 (11th Cir. 1982) (same).


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    indispensable party rule applies fully here, where the absent seller—FTX—is in the midst of

    complex bankruptcy proceedings involving active disputes about whether these same customer

    funds are debtor property. See Bankr. Compl. ¶¶ 188-99; Carolina Cas. Ins. Co. v. Condor Aerial,

    LLC, 2018 WL 5668505, at *3 (N.D. Fla. July 2, 2018) (bankruptcy trustee indispensable).

             FTX also has a core interest in the relief Plaintiffs seek, including rescission for payments

    to FTX, which is the only appropriate remedy for Plaintiffs’ unregistered securities claims. See

    Fallani v. Am. Water Corp., 574 F. Supp. 81, 84 (S.D. Fla. 1983); Fla. Stat. § 517.211(1), (3)(a);

    Moss v. Kroner, 197 Cal. App. 4th 860, 873 (2011); Cal. Corp. Code § 25501; Adams v. Smith,

    734 P.2d 843, 845 (Okla. Civ. App. 1986), 71 O.S. § 1-509(B)(1), (3). The same applies to

    Plaintiffs’ demands for restitution of purportedly lost funds, and an accounting. See CAC Prayer.

    Indeed, these forms of relief can come only from FTX. Movants have no power to restore deposits

    Plaintiffs may have given to FTX that were allegedly misappropriated by FTX. See Restatement

    (Third) of Restitution & Unjust Enrichment § 1 (2011). Likewise, only FTX can fulfill the

    injunction Plaintiffs request, “directing the Defendants to identify, with Court supervision, victims

    of their conduct” and prohibiting “Defendants from continuing those unlawful practices as set forth

    herein.” CAC Prayer.

                     2.     Because FTX Cannot Be Joined Or Subject To Discovery, “Equity
                            And Good Conscience” Favor Dismissal Under Rule 19(b)

             The bankruptcy stay prevents FTX from being joined, see 11 U.S.C. § 362(a)(1), (3), and

    likely prevents discovery from FTX, as well as its former employees.20 Given FTX’s direct interest


    20
         See, e.g., Lewis v. Russell, 2009 WL 1260290, at *4 (E.D. Cal. May 7, 2009) (precluding non-

    party discovery based on stay); In re Phila. Newspapers, LLC, 423 B.R. 98, 105 (E.D. Pa. 2010)

    (same). Discovery is also complicated by the ongoing prosecution of Bankman-Fried. See Gov’t’s



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    in this case, the Rule 19 equitable factors favor dismissal. 2 Montauk Highway LLC v. Glob.

    Partners LP, 296 F.R.D. 94, 101 (E.D.N.Y. 2013). FTX (subject to potential adverse rulings) and

    Movants (unable to obtain critical evidence from FTX) would both suffer in FTX’s absence.

    Movants cannot fully or fairly litigate without the “evidence, factors or defenses necessary to

    determine” the central issues—much of which FTX holds. Id. A remedy in FTX’s absence would

    not be “adequate” because it would not provide full relief. And Plaintiffs can obtain complete relief

    through the ongoing adversary proceedings in the bankruptcy court. See Fed. R. Bankr. P. 7001;

    Bankr. Compl.

            E.      Further Amendment Would Require Leave And Should Be Denied

            Finally, the Court should dismiss the complaint without leave to amend. District courts

    have “extensive discretion” to deny leave to amend when amendment would unduly prejudice the

    opposing party or would be futile. Campbell v. Emory Clinic, 166 F.3d 1157, 1162 (11th Cir.

    1999); Seiger ex rel. Seiger v. Philipp, 735 F. App’x 635, 637 (11th Cir. 2018). Both militate

    against amendment here. For nearly a year, Plaintiffs’ counsel have shopped this litigation from

    forum to forum and judge to judge, most recently by moving to create the instant multidistrict

    litigation. As part of these maneuvers, Plaintiffs have filed at least nine original complaints in state

    and federal court, three amended complaints, and now the instant complaint. See ECF Nos. 156,

    179. As a result, Plaintiffs have alleged nearly identical claims more than a dozen times, giving

    Plaintiffs more than a dozen opportunities to plead adequate factual allegations and refine their


    Appl. to Intervene & Mot. Stay & Mem. in Supp., ECF No. 247; cf. Order at 1, SEC v. Bankman-

    Fried, No. 22-cv-10501 (S.D.N.Y. Feb. 13, 2023), ECF No. 16 (staying proceedings “until the

    conclusion of the parallel criminal case”); Order at 1, CFTC v. Bankman-Fried, No. 22-cv-10503

    (S.D.N.Y. Feb. 13, 2023), ECF No. 38.


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    theories of liability. Moreover, Plaintiffs’ most recent amendments came after Movants filed a

    motion to dismiss their first amended complaint in Garrison for failure to state a claim. That

    motion detailed the longstanding flaws in Plaintiffs’ claims and showed Plaintiffs how to attempt

    to counter Movants’ arguments in any new pleadings. See Garrison Action, ECF No. 154.

             Yet the complaint still suffers from the same fatal defects as the previous twelve iterations.

    Plaintiffs have consistently failed to plead plausible—or, in truth, any—allegations showing that

    any Movant mentioned YBAs or FTT, had knowledge of FTX’s wrongdoing, or caused Plaintiffs’

    damages. Providing Plaintiffs with yet another opportunity to amend would significantly prejudice

    Movants, who have incurred significant costs to litigate Plaintiffs’ baseless claims for nearly a

    year. Furthermore, as Plaintiffs’ failure to adequately state their claims in any of their thirteen

    complaints to date makes plain, any amendment would be futile. No further amendment should be

    permitted. See, e.g., Opus Grp., LLC v. Enomatic Srl, 2012 WL 13134611, at *1 (S.D. Fla. Aug.

    23, 2012) (denying leave to file third amended complaint). This is particularly true given that

    Plaintiffs have violated the longstanding rule against shotgun pleadings from the very first iteration

    of their claims. See Barmapov, 986 F.3d at 1326 (plaintiff “squandered [the] opportunity [to

    amend] by filing another shotgun pleading.”).21




    21
         Defendant Bankman-Fried’s Motion to Dismiss (ECF No. 264) asserts that “Plaintiffs are

    subject to FTX US and FTX Trading, Ltd.’s Terms of Service, which contain enforceable

    arbitration clauses and class action waivers,” id. at 1. Movants cannot at present verify these

    statements—given the inability to obtain discovery from FTX or absent voluntary production by

    Plaintiffs—but may raise the arbitration and class waiver issues upon obtaining the agreements

    binding Plaintiffs.


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           WHEREFORE, Movants respectfully request that the Court dismiss these actions with

    prejudice, award them their attorneys’ fees and costs pursuant to Fla. Stat. §§ 501.2105(1) and

    517.211(6), and grant them such other and further relief as the Court deems just and proper.




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                                       REQUEST FOR HEARING

           In accordance with Local Rule 7.1(b)(2), Movants respectfully request that the Court hear

    oral argument on their Motion to Dismiss because this case involves myriad legal issues and

    statutory schemes. Movants believe oral argument would further the Court’s understanding of the

    multiple grounds for dismissal with prejudice. Movants submit that thirty minutes per side is

    sufficient for the parties to argue the issues presented.




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    Date: September 21, 2023             Respectfully submitted,
                                         COLSON, HICKS, EIDSON, P.A.
                                         255 Alhambra Circle, Penthouse
                                         Coral Gables, Florida 33134
                                         (305) 476-7400
                                         By: /s/ Roberto Martinez
                                          Roberto Martínez
                                          Florida Bar No. 305596
                                            bob@colson.com
                                          Stephanie A. Casey
                                          Florida Bar No. 97483
                                            scasey@colson.com
                                          Zachary Lipshultz
                                          Florida Bar No. 123594
                                            zach@colson.com

                                         Attorneys for Defendants Thomas Brady, Gisele
                                         Bündchen, Lawrence Gene David, Shaquille
                                         O’Neal, Golden State Warriors, LLC and Naomi
                                         Osaka

                                         LATHAM & WATKINS LLP
                                           Andrew B. Clubok (pro hac vice)
                                             andrew.clubok@lw.com
                                           Susan E. Engel (pro hac vice)
                                             susan.engel@lw.com
                                           Brittany M.J. Record (pro hac vice)
                                             brittany.record@lw.com
                                         555 Eleventh Street, N.W., Suite 1000
                                         Washington, D.C. 20004-1304
                                         Tel: +1.202.637.2200
                                         Fax: +1.202.637.2201
                                         LATHAM & WATKINS LLP
                                           Marvin S. Putnam (pro hac vice)
                                             marvin.putnam@lw.com
                                           Jessica Stebbins Bina (pro hac vice)
                                             jessica.stebbinsbina@lw.com
                                           Elizabeth A. Greenman (pro hac vice)
                                             elizabeth.greenman@lw.com
                                         10250 Constellation Blvd., Suite 1100
                                         Los Angeles, California 90067
                                         Tel: +1.424.653.5500
                                         Fax: +1.424.653.5501




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Case 1:23-md-03076-KMM Document 271 Entered on FLSD Docket 09/21/2023 Page 53 of 56



                                         LATHAM & WATKINS LLP
                                           Michele D. Johnson (pro hac vice)
                                             michele.johnson@lw.com
                                         650 Town Center Drive, 20th Floor
                                         Costa Mesa, California 92626-1925
                                         Tel: +1.714.540.1235
                                         Fax: +1.714.755.8290

                                         Attorneys for Defendants Thomas Brady, Gisele
                                         Bündchen, Lawrence Gene David, and Shaquille
                                         O’Neal

                                         GIBSON, DUNN & CRUTCHER LLP

                                         Matthew S. Kahn (pro hac vice)
                                           MKahn@gibsondunn.com
                                         Michael J. Kahn (pro hac vice)
                                           MJKahn@gibsondunn.com
                                         555 Mission Street, Suite 3000
                                         San Francisco, CA 94105-0921
                                         Phone: 415.393.8200
                                         Michael Dore (pro hac vice)
                                           MDore@gibsondunn.com
                                         Jamila MacEbong (pro hac vice)
                                           JMacEbong@gibsondunn.com
                                         333 South Grand Avenue
                                         Suite 4600
                                         Los Angeles, CA 90071-3197
                                         Phone: 213.229.7155
                                         Attorneys for Defendants Golden State
                                         Warriors, LLC and Naomi Osaka
                                         WEIL, GOTSHAL & MANGES LLP
                                         1395 Brickell Avenue, Suite 1200
                                         Miami, FL 33131-3368
                                         Phone: (305)-577-3100
                                         By: /s/ Edward Soto
                                          Edward Soto (Fla Bar. No. 0265144)
                                            edward.soto@weil.com
                                         Attorney for Defendant Shohei Ohtani




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                                         McDERMOTT WILL & EMERY LLP
                                         333 SE 2nd Ave., Suite 4500
                                         Miami, Florida 33131
                                         Telephone: (212) 547-5768
                                         Facsimile: (305) 347-6500
                                         By: /s/ Nathan Bull
                                            Nathan Bull (Fla. Bar No. 1029523)
                                               nbull@mwe.com
                                         McDERMOTT WILL & EMERY LLP
                                           Jason D. Strabo (pro hac vice)
                                             jstrabo@mwe.com
                                           Ellie Hourizadeh (pro hac vice)
                                             ehourizadeh@mwe.com
                                         2049 Century Park East, Suite 3200
                                         Los Angeles, CA 90067
                                         Telephone: (310) 788-4125
                                         Facsimile: (310) 277-4730
                                         McDERMOTT WILL & EMERY LLP
                                           Sarah P. Hogarth (pro hac vice)
                                            shogarth@mwe.com
                                         500 North Capitol Street NW
                                         Washington, DC 20001
                                         Telephone: (202) 756-8354
                                         Facsimile: (202) 756-8087
                                         Attorneys for Defendant Stephen Curry
                                         AKERMAN LLP
                                         350 East Las Olas Boulevard – Suite 1600
                                         Ft. Lauderdale, FL 33301
                                         Tel.: 954-463-2700
                                         Fax: 954-468-2454

                                         By: /s/ Christopher S. Carver
                                          Christopher S. Carver, Esq.
                                          Florida Bar No. 993580
                                            christopher.carver@akerman.com
                                          Jason S. Oletsky, Esq.
                                          Florida Bar No. 9301
                                            jason.oletsky@akerman.com
                                          Katherine A Johnson, Esq.
                                          Florida Bar No. 1040357
                                            katie.johnson@akerman.com
                                         Attorneys for Defendant David Ortiz and
                                         Udonis Haslem




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                                         MARCUS NEIMAN RASHBAUM
                                         & PINEIRO LLP
                                         100 Southeast Third Avenue, Suite 805
                                         Fort Lauderdale, Florida 33394
                                         Tel: (954) 462-1200
                                         2 South Biscayne Blvd., Suite 2530
                                         Miami, Florida 33131
                                         Tel: (305)-400-4260
                                         By: /s/ Jeffrey Neiman
                                         Jeffrey Neiman
                                         Fla Bar. No. 544469
                                           jneiman@mnrlawfirm.com
                                         Jeffrey Marcus
                                         Fla. Bar No. 310890
                                           jmarcus@mnrlawfirm.com
                                         Michael Pineiro
                                         Fla. Bar No. 041897
                                           mpineiro@mnrlawfirm.com
                                         Brandon Floch
                                         Fla. Bar No. 125218
                                           bfloch@mnrlawfirm.com
                                         BERK BRETTLER LLP
                                         9119 Sunset Boulevard
                                         West Hollywood, CA 90069
                                         Tel.: (310) 278-2111
                                         Andrew B. Brettler (pro hac vice)
                                           abrettler@berkbrettler.com

                                         Attorneys for Defendant Kevin O’Leary and
                                         Solomid Corporation




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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 21, 2023, a true and correct copy of the foregoing

    was filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true

    and correct copy to be served on all counsel of record.

                                                 By: /s/ Roberto Martinez
                                                    Roberto Martínez




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